EXHIBIT 3
                                                                                        RECEIVED
                                NOTICE OF TERMINATION
                                                                                      JUN 05 2021
                                       "SPIDER-MAN!"
                                                                                     ALAN BRAVERMAN




To: Marvel Entertainment, LLC                          Marvel Studios, LLC
      Marvel Worldwide, Inc.                           MVL Rights, LLC
      Marvel Property, Inc.                            MVL Development, LLC
      Marvel Characters, Inc.                          Marvel Characters, Inc.
      1290 Avenue of the Americas                      500 South Buena Vista Street
      New York, NY 10104                               Burbank, CA 91521
      Attn: John Turitzin, Chief Counsel               Attn: David Galluzzi, Chief Counsel
            Eli Bard, Deputy Chief Counsel

       The Walt Disney Company                         Marvel Animation Inc.
       500 South Buena Vista Street                    623 Circle Seven Drive
       Burbank, CA 91521                               Glendale, CA 91201
       Attn: Alan Braverman, General Counsel           Attn: Legal Department



       PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

C.F.R. § 201.10, Patrick S. Ditko, Administrator of the Estate of Stephen J. Ditko, being the person

entitled to terminate copyright transfers pursuant to said statutory provisions, hereby terminates

all pre-January 1, 1978 exclusive or non-exclusive grants of the transfer or license of the renewal

copyright(s) in and to the illustrated comic book story entitled "Spider-Man! ," which was authored

or co-authored by Stephen J. Ditko (a.k.a. Steve Ditko) and published in Amazing Fantasy Vol. 1,

No. 15, and sets forth in connection therewith the following:

       1.      The names and addresses of the grantees and/or successors in title whose rights are

being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500

South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena
Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

CA 91201. Pursuant to 37 C.F.R. Section 20 1.l0(d), service of this notice is being made by First

Class Mail, postage pre-paid to the above grantees or successors at the addresses shown.

        2.      The copyrighted work (the "Work") to which this Notice of Termination applies is

the illustrated two-part comic book story entitled " Spider-Man! ," authored or co-authored by

Stephen J. Ditko (a.k.a. Steve Ditko) 1 and published and embodied in Amazing Fantasy Vol. l ,

No. 15, (and includes this issue' s cover page), which issue was registered with the U.S. Copyright

Office by Atlas Magazines, Inc. on June 5, 1962 under Copyright Registration No. B976775 ,

renewed on November 20, 1990 under Copyright Renewal Registration No. RE0000497761, and

includes all the characters, story e lements, and/or indicia appearing therein. 2

        3.      The grant and/or transfer to which this Notice of Termination applies is made in

that certain copyright assignment(s) on the back of the check(s) issued by Marvel Entertainment,

LLC's predecessor company to Stephen J. Ditko with respect to the above-listed Work, which was




        1
          This Notice of Termination al so applies to all material authored or co-authored by Stephen J.
Ditko (in any and all medium(s), whenever created) that was reasonably associated with the Work and was
registered with the United States Copyright Office and/or published within the termination time window,
as defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Tem1ination. This Notice of
Termination likewise includes any character, story element, or indicia reasonably associated with the Work,
including, without limitation, Spider-Man (a.k.a. Peter Parker), Bluebird (a.k.a. Sally Avril), Uncle Ben
(Parker), The Burg lar, Aunt May (Parker), Liz Allan, Raymond Warren, Bernard O'Brien, Seymour
O'Reilly, Jessica Jones, Eric Schwinner, Crusher Hogan, Max Shiffman, Chet Huntley, Baxter Bigelow,
and Flash Thompson. Every reasonable effort has been made to find and list herein all such material.
Nevertheless, if any such material has been omitted, such omission is unintentional and involuntary, and
this Notice also applies to each and every such omitted material.
        2
          Pursuant to 37 C.F.R. § 201. I0(b)(l)(iii), this Notice of Termination includes the name ofat least
one author of the Work to which this Notice of Termination app lies. The listing herein of any corporation
as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
any right or remedy that Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, might have,
at law or in equity, with respect to the subject matter hereof, all of which is hereby expressly reserved.

                                                     2
dated on or about the time of the respective publication of such Work. 3

        4.      The effective date of termination shall be June 2, 2023.

        5.       Stephen J. Ditko died on June 29, 2018, with no surviving spouse, children or

grandchildren. As such, Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, owns

the termination interest of Stephen J. Ditko pursuant to 17 U.S.C. § 304(c)(2)(D), and is the person

entitled to exercise the termination right as to the grant(s) identified herein. This Notice has been

signed by all persons needed to terminate said grant(s) under 17 U.S.C. § 304(c).


Dated: June 1, 2021                                   TOBEROFF & ASSOCIATES, P.C.



                                                      Marc Toberoff

                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, California 90265
                                                      Tel: (310) 246-3333
                                                      As counsel for and on behalf of Patrick S. Ditko,
                                                      Administrator of the Estate of Stephen J. Ditko




        3
          This Notice of Termination also applies to each and every grant or alleged grant by Stephen J.
Ditko ofrights under copyright in and to the Work that falls within the applicable termination time window
(defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
applies as well to each and every such omitted grant and/or transfer.
                                                      3
                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true copy of the foregoing document described as

NOTICE OF TERMINATION to be served this l51 day of June, 2021 , by First Class Mail,

postage prepaid, upon each of the following:

      Marvel Entertainment, LLC                           Marvel Studios, LLC
      Marvel Worldwide, Inc.                              MVL Rights, LLC
      Marvel Property, Inc.                               MVL Development, LLC
      Marvel Characters, Inc.                             Marvel Characters, Inc.
      1290 Avenue of the Americas                         500 South Buena Vista Street
      New York, NY 10104                                  Burbank, CA 91521
      Attn: John Turitzin, Chief Counsel                  Attn: David Galluzzi, Chief Counsel
            Eli Bard, Deputy Chief Counsel

      The Walt Disney Company                             Marvel Animation Inc.
      500 South Buena Vista Street                        623 Circle Seven Drive
      Burbank, CA 91521                                   Glendale, CA 91201
      Attn: Alan Braverman, General Counsel               Attn: Legal Department



       I declare under penalty of perjury that the foregoing is true and correct. Executed this is1

day of June, 2021, at Malibu, California.




                                               Toberoff & Associates, P.C.
                                               23823 Malibu Road, Suite 50-363
                                               Malibu, California 90265

                                               Counsel for Patrick S. Ditko,
                                               Administrator of the Estate of Stephen J. Ditko




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